

People v Trent (2017 NY Slip Op 07786)





People v Trent


2017 NY Slip Op 07786


Decided on November 9, 2017


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 9, 2017

Manzanet-Daniels, J.P., Andrias, Gische, Kern, Singh, JJ.


4910 656/13

[*1]The People of the State of New York, Respondent,
vDaquan Trent, Defendant-Appellant.


Rosemary Herbert, Office of the Appellate Defender, New York (Joseph M. Nursey of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Dmitriy Povazhuk of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Denis J. Boyle, J.), rendered September 3, 2015, unanimously affirmed.
Although we find that defendant did not make a valid waiver of the right to appeal, we perceive no basis for reducing the sentence.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: NOVEMBER 9, 2017
CLERK








